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                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF OHIO
                         EASTERN DIVISION
----------------------------------- x
BOARD OF EDUCATION OF THE                                      :
HIGHLAND LOCAL SCHOOL DISTRICT,                                :
                                                               :
                  Plaintiff,                                   :
                                                               :
                               vs.                             :
                                                               :
UNITED STATES DEPARTMENT OF                                    :
EDUCATION; JOHN B. KING, JR., in his                           :
official capacity as United States Secretary of                :
Education; UNITED STATES DEPARTMENT                            :
OF JUSTICE; LORETTA E. LYNCH, in her                           :
official capacity as United States Attorney                    :
General; and VANITA GUPTA, in her official                     :
                                                                   Case No. 2:16-cv-524
capacity as Principal Deputy Assistant Attorney                :
General,                                                       :
                                                                   Judge Algenon L. Marbley
                                                               :
                                                                   Magistrate Judge Kimberly A. Jolson
                  Defendants.                                  :
------------------------------------------------------------   :
JANE DOE, a minor, by and through her legal                    :
guardians JOYCE and JOHN DOE,                                  :
                                                               :
                  Intervenor Third-Party Plaintiff,            :
                                                               :
                               vs.                             :
                                                               :
BOARD OF EDUCATION OF THE                                      :
HIGHLAND LOCAL SCHOOL DISTRICT;                                :
HIGHLAND LOCAL SCHOOL DISTRICT;                                :
WILLIAM DODDS, Superintendent of Highland                      :
Local School District; and SHAWN                               :
WINKELFOOS, Principal of Highland                              :
Elementary School,                                             :
                                                               :
                  Third-Party Defendants.                      :
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   JANE DOE’S MOTION TO STRIKE CERTAIN DEFENSES FROM HIGHLAND’S
                              ANSWER
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       Pursuant to Federal Rule of Civil Procedure 12(f), Jane Doe, by and through her legal

guardians, Joyce and John Doe, hereby moves to strike certain defenses from the Answer pled by

Plaintiff/Third-Party Defendant Board of Education of the Highland Local School District (the

“Board”) and the Third-Party Defendants Highland Local School District, William Dodds, and

Shawn Winkelfoos (together, “Highland”). Dkt. 115. In support of this motion, Jane Doe

submits the accompanying memorandum of law, moving to strike defenses for failing either to

meet the Rule 12(f) pleading standard or the heightened pleading standard laid out in Bell

Atlantic Corp. v. Twombly and Ashcroft v. Iqbal. FED. R. CIV. P. 12(f)(2); 550 U.S. 544 (2007);

556 U.S. 662 (209). Highland has presented no factual information to support any of its

defenses, and in many cases has presented defenses that have no legally cognizable place in this

case. Under the standards of Rule 12(f) and Twombly and Iqbal, all of Highland’s defenses

should be struck. However, because Jane realizes that some of Highland’s defenses have been

explained in more detail in collateral submissions, Jane only moves to strike the following

defenses: Two through Five, Seven through Ten, Twenty-Six, Twenty-Seven, Twenty-Nine,

Thirty, Thirty-Two, and Thirty-Six through Forty.

       Jane Doe respectfully urges this Court to GRANT this motion to strike.




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                                            Respectfully submitted,
Dated: November 21, 2016


                                            By: _s/ John Harrison___________________
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                                                * admitted pro hac vice




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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 21, 2016, all counsel of record who are deemed to

have consented to electronic service are being served with a copy of the foregoing instrument via

the Court’s CM/ECF filing system.



                                            s/ John Harrison_________________________
                                            John Harrison
